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         1                        United States Court of Appeals
        2                             for the Second Circuit
        3                                     _________________
        4
        5                                     August Term 2024
        6
        7                                  Argued: March 18, 2025
        8                                   Decided: July 17, 2025
        9
       10                                        No. 24-1221
       11                                     _________________
       12
       13                                      MARK JOHNSON,
       14
       15                                     Petitioner-Appellant,
       16
       17                                              v.
       18
       19                                UNITED STATES OF AMERICA,
       20
       21                                    Respondent-Appellee.
       22
       23                                     _________________
       24
       25                      On Appeal from the United States District Court
       26                      for the Eastern District of New York, Garauﬁs, J.
       27                                     _________________
       28

       29    Before:       CALABRESI, NATHAN, and KAHN, Circuit Judges.
       30
       31           Petitioner-Appellant Mark Johnson appeals from a judgment of the United
       32    States District Court for the Eastern District of New York (Garauﬁs, J.) dismissing
       33    his Petition for a writ of coram nobis. Johnson was convicted in a general verdict
       34    after the government presented two theories of fraud to the jury, one of which was

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        1    the now legally invalid right-to-control theory. Below, the government opposed
        2    his Petition on the grounds that the jury, in eﬀect, also convicted Johnson on the
        3    legally valid misappropriation theory, rendering harmless the erroneous
        4    presentation to the jury of the right-to-control theory. We ﬁnd that the
        5    government’s case against Johnson under the misappropriation theory is
        6    comparatively weak and have grave doubt that the presentation to the jury of the
        7    right-to-control theory was harmless.
        8           Accordingly, we REVERSE the district court judgment and REMAND for
        9    entry of an order granting the Petition.
       10                         _____________________________________
       11
       12                                ALEXANDRA A.E. SHAPIRO, (Jason A. Driscoll, on the brief),
       13                                Shapiro Arato Bach LLP, New York, NY for Petitioner-
       14                                Appellant.
       15
       16                                ANDREW W. LAING, Appellate Counsel, Criminal
       17                                Division, Fraud Section (Lisa H. Miller, Deputy Assistant
       18                                Attorney General, on the brief), for Nicole M. Argentieri,
       19                                Principal Deputy Assistant Attorney General,
       20                                Department of Justice, Washington, DC for Respondent-
       21                                Appellee.
       22
       23                                (Jacqueline Jamin Drohan, Vivian Rivera Drohan,
       24                                Drohan Lee LLP, New York, NY for Amicus Curiae ACI –
       25                                The Financial Markets Association, in support of
       26                                Petitioner-Appellant.)
       27
       28                          _____________________________________
       29
       30    CALABRESI, Circuit Judge:

       31           Petitioner-Appellant Mark Johnson served two years in prison for wire

       32    fraud and conspiracy to commit wire fraud. Johnson ﬁled this Petition seeking a

       33    writ of coram nobis after the Supreme Court’s decision in Ciminelli v. United States,
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         1   598 U.S. 306 (2023), rendered legally invalid one of the two theories of fraud

         2   liability presented to his jury which returned a general verdict convicting him. The

         3   government argued that submitting the invalid theory was harmless because

         4   Johnson was also convicted under the valid, alternate theory of fraud—

         5   misappropriation. The government’s misappropriation case against Johnson was

         6   weak. And we think it very unlikely that it was an independent basis for Johnson’s

         7   conviction. We therefore REVERSE the district court decision and REMAND for

         8   the district court to GRANT the Petition.

         9                                        BACKGROUND

       10           Mark Johnson was convicted in 2017 by a jury in the Eastern District of New

       11    York of wire fraud and conspiracy to commit wire fraud. The charges centered on

       12    a transaction Johnson conducted in 2011 as global head of HSBC’s foreign

       13    exchange trading desk, in which HSBC converted U.S. Dollars into 2.25 billion

       14    British Pounds for the oil and gas company Cairn Energy. The details of the case

       15    have been discussed extensively before, both by this Court, United States v. Johnson,

       16    945 F.3d 606, 608–12 (2d Cir. 2019), and by the district court, Johnson v. United

       17    States, No. 23-CV-5600 (NGG), 2024 WL 1740916 at *1–5 (E.D.N.Y. Apr. 23, 2024).




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         1   We therefore restrict our discussion to the, still lengthy, facts most pertinent to the

         2   present decision.

         3                                   The Foreign Exchange Market

         4          The foreign exchange (FX) market is a decentralized market for the trading

         5   of currencies. Unlike the stock market, it does not have a closing price. Instead,

         6   banks and ﬁnancial services companies publish a “ﬁx”—a benchmark exchange

         7   rate for each pair of currencies being traded. The relevant actors here used World

         8   Market/Reuters (WM/Reuters), which publishes its ﬁx rate hourly, based on the

         9   average price of actual trades executed in a one-minute window beginning 30

       10    seconds before the hour and ending 30 seconds after the hour. Movements in

       11    exchange rates are measured in “pips,” 100 pips being equivalent to one cent.

       12           FX dealers, usually banks, can act as agents or principals. When a dealer acts

       13    as a client’s agent, the dealer functions as a middleman and trades with a third

       14    party on behalf of the client. For example, if a client wants to purchase pounds, the

       15    dealer, for a fee, will ﬁnd a seller with the best price and purchase pounds on

       16    behalf of the client.

       17           In contrast, when a dealer acts as a principal, the dealer transacts directly

       18    with the client to sell currency from its own inventory. There are multiple ways to

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         1   structure transactions in which dealers act as principals. In a full-risk transfer, the

         2   dealer and client agree upon a set exchange rate, and the dealer sells the currency

         3   to the client at that rate. The dealer therefore bears the risk that the market value

         4   of the currency will change after the deal is made. In other words, it risks

         5   purchasing currency at a higher price than the price at which it agreed to sell. To

         6   compensate for that risk, the dealer charges the client a fee for executing the

         7   exchange.

         8          On the other hand, in a ﬁx transaction, the dealer agrees to sell currency to

         9   the client at a rate determined by the “ﬁx” at a speciﬁc time set in the future. For

       10    publicly held clients, this method oﬀers transparency: a corporation can show its

       11    shareholders that it received the market rate based on the ﬁx. The dealer usually

       12    does not charge a fee for a ﬁx transaction. Instead, it attempts to proﬁt by “beating

       13    the ﬁx”—that is, by purchasing the currency at a price below the ﬁx rate at which

       14    it will sell the currency to the client.

       15           A dealer in a ﬁx transaction must ﬁrst buy suﬃcient currency to fulﬁll the

       16    order. Ideally this is done slowly, in the several hours leading up to the transaction.

       17    This accumulation of the currency in anticipation of the ﬁx is called “pre-hedging,”

       18    and it helps protect against last-minute spikes in the price of the currency. If the

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         1   market catches on to the dealer’s intentions and realizes the dealer needs to

         2   purchase, for example, several billion pounds, the market price of pounds will rise.

         3   If a dealer buys currency in an aggressive manner just before a ﬁx, this may lead

         4   to an increase of the ﬁx price, thereby inﬂating the price the client must pay and

         5   with it the dealer’s potential proﬁts. Doing this intentionally is referred to as

         6   “ramping” the ﬁx. In any case, the dealer looks to purchase the currency in a ﬁx

         7   transaction at a price lower than what it predicts the eventual ﬁx price to be.

         8          A dealer may also purchase currency for its own proprietary accounts and

         9   aim to sell to third parties immediately after the ﬁx transaction, anticipating that

       10    the ﬁx transaction itself may cause a momentary spike in the price of the currency

       11    from which it can proﬁt. This is called “trading ahead.” The line between pre-

       12    hedging and trading ahead is, however, necessarily blurry because dealers simply

       13    do not know how many pounds, for example, they must buy to fulﬁll the client’s

       14    order until they see the ﬁnal ﬁx price. If dealers purchase too much currency, they

       15    will seek to sell it at the high point after the transaction, and if too little, they may

       16    have to reach into their own proprietary accounts to fulﬁll the order.

       17           In the retail context, where dealers purchase currency entirely on their

       18    client’s behalf as their agent and receive a commission, pre-hedging or trading

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         1   ahead is called front-running and is illegal. Dealers making such transactions on

         2   behalf of a client are not allowed to use the knowledge that the transaction may

         3   move the market to make a proﬁt by making parallel trades in their own

         4   proprietary accounts. In principal-to-principal transactions, where dealers do not

         5   receive a commission, such conduct is, instead, explicitly not regulated. Indeed,

         6   pre-hedging and trading ahead is how banks proﬁt and manage their own risk in

         7   FX transactions where they do not charge a commission.

         8                                    The Contract Negotiations

         9          In October of 2011, Cairn Energy sent a Request for Proposal (RFP) to nine

       10    major banks. Cairn planned to sell its subsidiary in India for around $4 billion,

       11    convert those dollars to British pounds, and pay out the proceeds to its

       12    shareholders. Cairn had never before been involved in an FX transaction of that

       13    size, and it sought proposals from banks about how to conduct the trade. Cairn

       14    retained the London investment bank Rothschild & Co. as its ﬁnancial advisor,

       15    and Rothschild ran the RFP process. Each bank invited to participate in the process

       16    was required to sign a Non-Disclosure Agreement (NDA) stating that

       17    “[c]onﬁdential [i]nformation” was being provided “solely for the purposes” of

       18    “assist[ing] the . . . banks in their analysis of the proposed currency exchange

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         1   transaction” so that Cairn could “[o]btain feedback” and “select” a bank. App’x at

         2   166, 169, 172. The NDA stated that the agreement would remain in eﬀect for two

         3   years. Id. at 167.

         4          That month, Dipak Khot of HSBC pitched Cairn on several methods of

         5   executing the FX transaction, including the full risk transfer and ﬁx transaction

         6   described above, as well as some methods (an “at best” price) where HSBC would

         7   serve as a broker or agent for Cairn and be paid a commission. The parties disagree

         8   on the extent to which the pitch should be read as “puﬀery” or “salesman’s banter”

         9   as opposed to binding promises about how HSBC would handle the trade if it

       10    secured the contract. The presentation stated:

       11           •      “We would like to execute this in the best interest of [Cairn].” App’x

       12                  at 177.

       13           •      “HSBC would work with you to ensure best execution during the

       14                  day.” Id. at 180.

       15           •      “It is important to choose a reliable partner[] who has a track record

       16                  and ability to seamlessly execute a transaction of this magnitude

       17                  without creating excessive market volatility.” Id. at 175.




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         1          •      “[I]t is in the interest of [Cairn] to manage the process jointly with

         2                 HSBC in case of undue market volatility.” Id. at 177.

         3          But it also said:

         4          •      “[Cairn] should not rely on any information in the document.” Id. at

         5                 204.

         6          •      A ﬁx would “fully expose[] [Cairn] to any adverse movements” and

         7                 is among “the riskiest of the strategies to consider.” Id. at 178.

         8          •      “Neither HSBC nor any of its aﬃliates are responsible for providing

         9                 [Cairn] with . . . specialist advice.” Id. at 204.

       10           •      “[Cairn] is solely responsible for making [its] own independent

       11                  appraisal of and investigation into the . . . transaction.” Id.

       12           While still considering which bank to move forward with, the Rothschild

       13    partner advising Cairn spoke to Petitioner-Appellant Johnson about a ﬁx

       14    transaction and how it would be conducted. During the conversation Johnson

       15    explained:

       16           [L]et’s say it’s, for argument’s sake, it’s 11 o’clock. In a perfect world
       17           we start at 9 and we, or 8 in the morning, and we gradually build it
       18           up, build it up, build it up and then just try and control the market so
       19           it doesn’t look too noisy because obviously, you know our aim is to
       20           make a small amount of money out of this clearly because that’s our
       21           business. But, you know, have a happy customer go away.
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        1           ...
        2           So if we just accumulate the position and then just try and control the
        3           market over the last 20 minutes, so that we give you a fair price and
        4           then we have something that you know, we keep Dipak and the
        5           bosses happy, . . . Then, then it’s a win-win. If you’ve told us, you
        6           know, we need the ﬁx in 30 minutes then we’ve got a lot to buy and
        7           we’re gonna cause a lot of noise and we run the risk one of losing a
        8           lot and two of upsetting the customer. And that’s just not in our
        9           interest.
       10
       11    App’x at 275.

       12           The Rothschild advisor asked whether, if HSBC was able to buy the pounds

       13    at a price signiﬁcantly better than the ﬁx, it would be willing to share some of that

       14    proﬁt with Cairn. Johnson said no and warned him that banks who oﬀer a discount

       15    on the ﬁx will just compensate by trading in a way that pushes up the ﬁx:

       16           Now if you’re doing that clearly you’re doing it cause you’re
       17           intending to ramp the ﬁx. . . . If we use the ﬁx then we say actually we
       18           can do it 10 pips better than that ﬁx[,] it then opens a whole other
       19           question[] as to why did you do it 10 pips better than the ﬁx, you
       20           obviously ramped the ﬁx. So where would it have been if you hadn’t
       21           ramped the ﬁx and it just opens up a whole load of stuﬀ. The point of
       22           doing a ﬁx is you basically look to buy the amount on average at or
       23           around that ﬁx at that time, which, which minimizes the ability of you
       24           to really beat the ﬁx by a really large amount anyway.
       25
       26    Id. at 277—78.

       27           The parties have drastically diﬀerent interpretations of this conversation.

       28    According to the government, Johnson represented that HSBC would not trade in

                                                       10
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        1    a way that would ramp the ﬁx. According to Johnson, he was informing Cairn and

        2    Rothschild that HSBC would trade ahead of the ﬁx which would naturally risk

        3    causing upward pressure on the price of pounds, and that the shorter the window

        4    the bank was given before the ﬁx, the steeper the pressure would be. Johnson

        5    further argues that he made clear that HSBC would seek to proﬁt by beating the

        6    ﬁx.

        7           In late October, Cairn awarded the contract to HSBC. The parties signed a

        8    Mandate Letter in which they agreed that HSBC would sell pounds to Cairn on a

        9    principal-to-principal basis, but the agreement left open the exact method to be

       10    chosen. If a ﬁx were chosen, the agreement required Cairn to inform HSBC of the

       11    full amount needed at least two hours before the chosen ﬁx time.

       12           The Mandate Letter also included a number of disclaimers. It stated:

       13           HSBC is not responsible for providing the recipient with legal, tax, or
       14           other specialist advice and the recipient should make its own
       15           arrangements accordingly. The recipient is solely responsible for
       16           making its own independent appraisal of and investigation into the
       17           products, investments, and transactions referred to in this document
       18           and should not rely on the information in this document as
       19           constituting investment advice.
       20           ...
       21           The issue of this document shall not be regarded as creating any form
       22           of advisory or other relationship, and HSBC may only be regarded as
       23           acting on behalf of the recipient as ﬁnancial advisor or otherwise

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        1           following the execution of an engagement letter on mutually
        2           satisfactory terms.
        3
        4    Id. at 211.

        5           The Mandate Letter also incorporated an International Swap Dealers

        6    Association Master Agreement (ISDA) previously signed by the parties. The ISDA

        7    stated in relevant part:

        8           Each party will be deemed to represent to the other party on the date
        9           on which it enters into a Transaction that . . . :
       10           Non reliance. It is acting for its own account and it has made its own
       11           independent decisions to enter into that Transaction and as to
       12           whether that Transaction is appropriate or proper for it based upon
       13           its own judgment and upon advice from such advisers as it has
       14           deemed necessary.
       15           ...
       16           Status of the Parties. The other party is not acting as ﬁduciary for or as
       17           an adviser to it in respect of that Transaction.
       18
       19    Id. at 261.

       20           Cairn kept the exact timing and amount of the transaction close to its chest.

       21    It did not inform even HSBC for fear of inﬂuencing the market. But the fact of the

       22    transaction—that Cairn was in the process of selling a major subsidiary, the deal

       23    would be conducted in dollars, Cairn would conduct a major foreign exchange

       24    transaction, and then it would distribute most of the proceeds to its shareholders

       25    in pounds—was public before the RFP process was even held, and the NDA did

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        1    not purport to apply to this publicly available knowledge.

        2                                        Execution of the Trade

        3           After the Mandate Letter was signed but before the transaction date,

        4    Johnson purchased pounds in his proprietary trading book on behalf of HSBC. On

        5    December 7, 2011, at 1:56 PM, Cairn oﬃcially placed its order with HSBC for 1.2

        6    billion pounds at the 3:00 PM ﬁx rate. At 2:28 PM, Cairn increased its order to

        7    approximately 2.25 billion pounds. Johnson responded to the news of the

        8    increased order with, “fucking Christmas!” Johnson was in New York on

        9    December 7, so he delegated the responsibility of overseeing the trade to Stuart

       10    Scott, an HSBC trader in London. Scott supervised Frank Cahill, another HSBC

       11    trader in London who was tasked with buying the pounds to ﬁll Cairn’s order.

       12    Cahill testiﬁed that he didn’t receive any direct instruction from Johnson about

       13    how to trade, and he went about it as he normally would: some “aggressive”

       14    methods that would ramp the price, followed by pauses to let the market breathe

       15    and minimize upward movement.

       16           At 2:54 PM, Johnson learned that HSBC was still 1.2 billion pounds short of

       17    the 2.25 billion needed. He spoke with Scott by phone, and again the parties have




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        1    diﬀerent interpretations of this conversation. The relevant portions of the call are

        2    as follows:

        3              JOHNSON: Just uh, the email I sent to Dipak [Khot]. So we should
        4              use that as reference rate, right? So to, I mean obviously, we’ve got a
        5              bit of a way to go, right. But I don’t know what his average is but as
        6              long as it is under that rate, they can’t really complain. Right?
        7              SCOTT: Yeah, yeah.
        8              JOHNSON: If it’s over 5730 they’re gonna squeal.
        9              SCOTT: If it’s over what?
       10              JOHNSON: If it’s over ﬁfty—well if it’s—it was around 5630 when
       11              they called us, right, and it spent most of the morning around 5620-
       12              30 so we should probably make sure we don’t ramp it up through
       13              there.
       14
       15    App’x at 236.

       16              Johnson then told Scott that they could “aﬀord to go short some,” that is,

       17    either sell some pounds to prevent the price from being ramped above 5730 or stop

       18    short of purchasing 2.25 billion pounds and fulﬁll the order from HSBC’s

       19    proprietary account. 1 According to the government, Johnson and Scott were

       20    strategizing about how much they could ramp up the price before Cairn would

       21    complain. According to Johnson, he was warning Scott against ramping up the

       22    price too high and speciﬁcally advising him to keep the price below that of a full

       23    risk transfer, which had been the other FX strategy Cairn had seriously considered.



             1   “5730” in this context refers to an exchange rate of 1.5730 British Pounds to U.S. dollars.
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        1           Cahill purchased 1.2 billion pounds in the ﬁnal six minutes before 3:00 PM.

        2    The price of the pound increased and reached its highest point of the day at the

        3    3:00 PM ﬁx. Following the transaction, Cairn expressed concern about the spike in

        4    price. Cairn asked to speak with Johnson and Scott. Before the call, Khot warned

        5    Johnson “to be a bit careful if it’s us.” Supp. App’x at 135. On the phone, Scott told

        6    Cairn that such spikes were pretty normal and said that the Russian Central Bank

        7    had also been buying pounds at that time. Johnson chimed in saying that the

        8    Russians were “always selling dollars.” Supp. App’x at 147.

        9           Before Cairn placed its order on December 7, Johnson, from New York, had

       10    sent the following message to Paul Clark, an HSBC trader in London: “I left my

       11    watch in the hotel, have to go and get it . . . .” Supp. App’x at 219. The government

       12    argues that Johnson used “watch” as a code word, in fact, as a tip to buy pounds.

       13    In any event, Clark and several other HSBC traders began buying pounds shortly

       14    after Johnson’s message. Many, but not all, of these pounds were used to fulﬁll

       15    Cairn’s order. The remaining pounds were sold shortly after 3:00 PM to third

       16    parties, when the price of pounds was at its peak for the day, earning much money

       17    for HSBC’s proprietary books.




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        1           HSBC ultimately decided to give Cairn a discount of 2.5 pips. HSBC’s total

        2    proﬁts from the transaction were around $7 million. Johnson asserts that the

        3    transaction cost Cairn signiﬁcantly less than the full-risk transfer would have cost

        4    and that HSBC’s “commission” on the deal amounted to 0.2% of the $3.5 billion

        5    transaction.

        6                                    Procedural Background

        7           In 2016, Johnson was indicted on one count of conspiracy to commit wire

        8    fraud in violation of 18 U.S.C. § 1349 and 10 counts of wire fraud in violation of 18

        9    U.S.C. § 1343. Johnson’s four-week trial began in late 2017.

       10           At trial, the government advanced two theories of wire fraud. Under the

       11    misappropriation theory, the government argued that Johnson breached a duty to

       12    Cairn by using Cairn’s conﬁdential information to make proprietary trades prior

       13    to the ﬁx in a way that ramped the price for Cairn and made proﬁt for HSBC.

       14    Under the right-to-control theory, the government argued that Johnson, after

       15    misleadingly representing to Cairn that HSBC would not ramp up the price of the

       16    pound, intentionally ramped the ﬁx, depriving Cairn of pricing information that

       17    went to the core of the deal.




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        1           The jury found Johnson guilty on one count of conspiracy and eight counts

        2    of wire fraud in a general verdict that did not specify upon which theory of liability

        3    it relied. The district court sentenced Johnson to 24 months’ imprisonment, three

        4    years of supervised release, and a $300,000 ﬁne. On appeal, this Court upheld

        5    Johnson’s conviction on the right-to-control theory, expressly deciding “not [to]

        6    reach Johnson’s arguments as to the misappropriation theory.” Johnson, 945 F.3d

        7    at 608.

        8           As Johnson was completing his sentence, the Supreme Court invalidated the

        9    right-to-control theory of fraud. Ciminelli v. United States, 598 U.S. 306 (2023).

       10    Shortly thereafter, Johnson ﬁled this Petition for coram nobis with his sentencing

       11    court. The district court rejected his Petition, concluding that “the jury would have

       12    found that Johnson met each of the elements required under the misappropriation

       13    theory.” Johnson, 2024 WL 1740916 at *12. As a result, it found that the inclusion of

       14    the invalid right-to-control theory in the jury charge was harmless.

       15                                       DISCUSSION

       16           Coram nobis, the common law writ used to correct errors “of the most

       17    fundamental character” after a ﬁnal conviction and exhaustion of all appeals, is an

       18    “extraordinary remedy” to be used only where “circumstances compel[] such

                                                       17
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        1    action to achieve justice.” United States v. Morgan, 346 U.S. 502, 511–12 (1954)

        2    (citation and quotation marks omitted). In this Circuit, we have said that the writ

        3    should issue when a petitioner shows “1) there are circumstances compelling such

        4    action to achieve justice, 2) sound reasons exist for failure to seek appropriate

        5    earlier relief, and 3) the petitioner continues to suﬀer legal consequences from his

        6    conviction that may be remedied by granting of the writ.” Kovacs v. United States,

        7    744 F.3d 44, 49 (2d Cir. 2014).

        8           Nobody disputes that Johnson ﬁled his Petition at his earliest possible

        9    opportunity. 2 And, as the district court found, Johnson continues to suﬀer legal

       10    consequences from his conviction in the form of restrictions on his ability to work

       11    in banking and to travel to this country. Johnson, 2024 WL 1740916, at *6 n.14. The

       12    only question before us on appeal is, therefore, the main one—whether justice

       13    compels issuance of the writ.

       14           I.      A Possible Yates Error

       15           When a jury is presented with an illegal or unconstitutional basis for

       16    conviction and a legally valid basis, a so-called Yates error arises if the jury returns




             2Johnson ﬁled this Petition 75 days after the Supreme Court handed down its decision in Ciminelli
             and 72 days after he was released from prison.
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        1    a general verdict and a court cannot determine upon which basis the jury

        2    convicted. Griﬃn v. United States, 502 U.S. 46, 56 (1991). If Johnson were still

        3    imprisoned, he would be able to seek habeas relief on the grounds that his jury

        4    was invited to convict him on a legally invalid basis, the right-to-control theory,

        5    alongside the legally valid misappropriation theory. 3 Similarly, if his case were

        6    still on direct appeal, Johnson could have argued that a Yates error here required

        7    reversal of his conviction. See United States v. Garcia, 992 F.2d 409, 416 (2d Cir.

        8    1993). As a result, the possibility that Johnson’s jury convicted him for behavior

        9    “that simply is not illegal” is adequate to support his claim that justice requires the

       10    issuance of coram nobis. United States v. Mandanici, 205 F.3d 519, 525 (2d Cir. 2000)

       11    (quotation marks omitted).

       12           But Yates errors are not structural and are subject to harmlessness review.

       13    Hedgpeth v. Pulido, 555 U.S. 57, 58 (2008). The district court denied Johnson’s

       14    Petition because it determined “that including the invalid right-to-control theory




             3 It is unimportant that Johnson was convicted before the Supreme Court’s determination in
             Ciminelli that the right-to-control theory is “invalid,” 598 U.S. at 317, because that decision created
             a new rule of substantive criminal law. “A new rule of substantive criminal law is presumptively
             retroactive because a defendant may have been punished for conduct that simply is not illegal.”
             United States v. Mandanici, 205 F.3d 519, 525 (2d Cir. 2000) (quotation marks omitted).
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        1    [did not aﬀect] the verdict’s outcome” and therefore was harmless. Johnson, 2024

        2    WL 1740916, at *7. It is to that question we now turn.

        3           II.     Harmlessness Review in Coram Nobis

        4           This Court has never squarely stated which standard of harmlessness

        5    review applies in coram nobis. In recognition of the extraordinary nature of coram

        6    nobis relief and the interest of ﬁnality, the government urges us to apply the so-

        7    called Kotteakos standard used for collateral review of state court convictions.

        8    Under that standard, the government must show the error did not have

        9    “substantial and injurious eﬀect or inﬂuence in determining the jury’s verdict.”

       10    Kotteakos v. United States, 328 U.S. 750, 776 (1946). Johnson instead urges us to apply

       11    the Chapman standard used for initial review of constitutional errors. Under

       12    Chapman, the government must demonstrate that the error “was harmless beyond

       13    a reasonable doubt.” Chapman v. California, 386 U.S. 18, 24 (1967).

       14           We note that the concerns about comity, federalism, and state interests cited

       15    by the Supreme Court for preferring Kotteakos in collateral review are not present

       16    in this case, where the Petitioner asks us to overturn a federal conviction

       17    originating in this Circuit. Brecht v. Abrahamson, 507 U.S. 619, 635 (1993). We note

       18    also that under both Chapman and Kotteakos the government bears the burden of

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        1    persuasion. Id. at 630 (“The State bears the burden of proving that an error passes

        2    muster under [the Chapman reasonable doubt] standard.”); O'Neal v. McAninch,

        3    513 U.S. 432, 438–39 (1995) (stating the same for the Kotteakos substantial-inﬂuence

        4    standard).

        5           In the end, however, because Johnson prevails under either standard, we

        6    decline to decide in this case which harmlessness test is more appropriate for

        7    coram nobis. And we hold that the government has not met its burden under the

        8    less burdensome Kotteakos standard.

        9           III.    Weaknesses of the Misappropriation Case against Johnson

       10           The issue before us is whether the inclusion of the misappropriation theory

       11    in the jury instructions renders harmless the inclusion of the invalid right-to-

       12    control theory. We are unconvinced by the government’s argument that Johnson’s

       13    jury was not substantially inﬂuenced by the inclusion of the invalid right-to-

       14    control theory. Indeed, as to least two elements of the misappropriation theory,

       15    the government’s case was so weak that we ﬁnd ourselves doubting that a jury

       16    would have convicted Johnson on that basis.

       17           To convict on the misappropriation theory, the jury needed to ﬁnd four

       18    elements beyond a reasonable doubt: “(1) the Defendant entered into a

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        1    relationship of trust and conﬁdence with Cairn; (2) Cairn provided the Defendant

        2    with conﬁdential information in the course of such a relationship; (3) the

        3    defendant . . . secretly used that information for his own beneﬁt, under

        4    circumstances where that use could or did result in a tangible harm to Cairn; and

        5    (4) the defendant acted with knowledge and fraudulent intent.” Johnson, 2024 WL

        6    1740916 at *7 (citation and quotation marks omitted). On the ﬁrst element, which

        7    we call the ﬁduciary relationship element, and the third, which we call the

        8    misappropriation element, the government’s evidence was decidedly weak.

        9              A. The Fiduciary Relationship Element

       10           A person can only commit fraud by misappropriation if they

       11    misappropriate conﬁdential information from a person or entity with which they

       12    have a pre-existing ﬁduciary or quasi-ﬁduciary relationship. See United States v.

       13    Chestman, 947 F.2d 551, 570–71 (2d Cir. 1991) (en banc). A person acts as another’s

       14    ﬁduciary when “the business which he transacts, or the money or property which

       15    he handles, is not his own or for his own beneﬁt, but for the beneﬁt of” the other.

       16    Id. at 568 (quoting Black's Law Dictionary 564 (5th ed. 1979)). This ﬁduciary

       17    relationship cannot be “lightly implied,” and a customer’s placing “great

       18    conﬁdence and trust” in their broker is insuﬃcient. United States v. Skelly, 442 F.3d

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        1    94, 98–99 (2d Cir. 2006). Rather, a ﬁduciary relationship requires “de facto control

        2    and dominance” by the agent over the principal’s aﬀairs. Id. (citation and

        3    quotation omitted).

        4           In his defense, Johnson pointed to the Mandate Letter and its incorporation

        5    of the ISDA disclaiming any ﬁduciary relationship between HSBC and Cairn. As

        6    a result he asserts that, as a matter of law, he had no ﬁduciary duty to Cairn.

        7    During Johnson’s trial, the district court acknowledged that whether the ﬁduciary

        8    duty element was a question of law or an issue of fact was a “knotty issue.” The

        9    court ultimately decided that this element presented an issue of fact for the jury.

       10    Where the dispute over the existence of a ﬁduciary relationship is based in factual

       11    questions, like who promised what to whom, it is of course the provenance of the

       12    jury to decide those facts. Here, the dispute was not so much what was promised

       13    as which promises were controlling.

       14           We do not, however, conclude that the district court was incorrect to allow

       15    the jury to decide the ﬁduciary duty element. It is legally possible for a person to

       16    form a de facto ﬁduciary relationship notwithstanding a purported contractual

       17    disclaimer of such a relationship. But the evidence for such a ﬁduciary relationship

       18    would need to be quite strong and the jury charge quite clear. And the explicit

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        1    disclaimer of ﬁduciary liability and the absence of any contractual breach carry

        2    quite a lot of weight.

        3           A factﬁnder in such a situation must begin from the presumption that no

        4    ﬁduciary relationship exists, and only the strongest parol evidence that a

        5    defendant deliberately created a quasi-ﬁduciary relationship can suﬃce to

        6    override that presumption. Signiﬁcantly, in the diﬀerent but similar context of

        7    honest-services fraud, the Supreme Court recently found that this Court violated

        8    a defendant’s Due Process rights when we aﬃrmed a jury instruction that allowed

        9    the jury to impute a ﬁduciary duty to the public from a ﬁnding that a defendant

       10    “dominated and controlled” government business and had a “special

       11    relationship” to the government even when that defendant had no oﬃcial public

       12    position. Percoco v. United States, 598 U.S. 319, 322 (2023). The Supreme Court

       13    explicitly did not say that a formal public position is the only way to assume a

       14    ﬁduciary duty to the public, but the Supreme Court made clear that in the absence

       15    of such a position, a ﬁduciary relationship should not be lightly implied from

       16    vague principles. The same also must be true for a defendant with no explicit,




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        1    contractually binding ﬁduciary relationship with his purported victim. 4

        2           All in all, we ﬁnd it unlikely that a reasonable jury would have reached

        3    unanimous agreement on the ﬁduciary duty element here.

        4               B. The Misappropriation of Conﬁdential Information Element

        5           To create fraud liability, it is not enough for a defendant, without full

        6    disclosure, to appropriate another’s conﬁdential information. A defendant must

        7    misappropriate that information—that is, use it in a way that was not permitted—

        8    for their own beneﬁt and to the detriment of the other. The case against Johnson

        9    on this element is far from straightforward.

       10           The district court was correct that it is not theoretically impossible to prove

       11    misappropriation fraud, which is typically used to prosecute securities fraud, also



             4The government appears at times to argue that the NDA counteracted the contractual disclaimer
             in some way and created an independent ﬁduciary duty. But “[a] mutual nondisclosure
             agreement does not per se create a fiduciary relationship.” Converged Compliance Sols., Inc. v. XOP
             Networks, Inc., No. 21-CV-5482 (PGG) (OTW), 2024 WL 4665114, at *18 (S.D.N.Y. Sept. 25, 2024)
             (citing Gate Technologies, LLC v. Delphix Capital Mkts., LLC, 12-CV-7075 (JPO), 2013 WL 3455484, at
             *8 (S.D.N.Y. July 9, 2013)). And both this Court and the District Court implicitly found that
             Johnson had committed no contractual breach. Johnson, 945 F.3d at 613 (“[The criminal fraud
             statute here] applies even if the parties’ contract was never breached.”); Johnson, 2024 WL 1740916,
             at *9 (“[A] defendant may commit wire fraud even absent a breach of contract when the defendant
             had an intent to defraud.”).

             As a result, we analyze the NDA as yet another piece of parol evidence pointed to by the
             government that Johnson intended to create a quasi-fiduciary relationship with Cairn
             notwithstanding the contract between the parties.
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        1    in the foreign transactions market. But when this form of liability is applied in this

        2    new, foreign exchange context, the test must take into account the diﬀerences in

        3    the markets. The government does not dispute that, unlike traders in stock, foreign

        4    exchange dealers cannot simply abstain from the market when they receive

        5    “inside” information. A foreign exchange dealer must buy and sell many millions

        6    of pounds and dollars every day, even if it is a party to an upcoming ﬁx

        7    transaction. Indeed, a foreign exchange dealer engaged in a large ﬁx transaction

        8    must trade ahead of the ﬁx to execute the deal and can further trade ahead, to some

        9    disputable degree, to hedge against the risk of an unfavorable ﬁx price. Insofar as

       10    either the fact of the ﬁx transaction or its timing is conﬁdential, the foreign

       11    exchange dealer uses conﬁdential information in both cases.

       12           The government never convincingly made out its theory that Johnson’s use

       13    of Cairn’s information was misappropriative. Its evidence did not show Johnson’s

       14    behavior to be extra-ordinary, and thus mis-appropriative, in any of the above

       15    respects. Indeed, the government’s evidence showed that Cahill, the trader in

       16    charge of executing the ﬁx, conducted himself as he “normally” would. App’x at

       17    133. This was important evidence for the government’s right-to-control case, in

       18    which it accused Johnson of misleading Cairn about the extent to which HSBC

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        1    would treat the deal as a normal ﬁx transaction. But it undermines the

        2    government’s argument that Johnson used conﬁdential information about the ﬁx

        3    in an abnormal and knowingly impermissible way.

        4           As a result, we doubt that a properly instructed jury would have found the

        5    government satisﬁed its burden of showing that Johnson misappropriated Cairn’s

        6    information.

        7           IV.     The Case for Grave Doubt

        8           With these concerns in mind, we must determine whether the presentation

        9    of the erroneous right-to-control theory was harmless. The question before us is

       10    not whether a jury could have or even would have convicted Johnson if presented

       11    only with a misappropriation theory of fraud. It is, rather, whether Johnson’s jury

       12    did convict him on that basis.

       13           The right-to-control case against Johnson was straightforward and that was

       14    the only basis upon which his conviction was previously upheld by this Court.

       15    The government’s misappropriation theory, instead, was substantially more

       16    complicated and had serious shortcomings. Given those circumstances, we ﬁnd it

       17    impossible to avoid grave doubt that the jury was “substantially swayed by” the

       18    presentation of the invalid right-to-control theory alongside the misappropriation

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        1    theory. 328 U.S. at 765.

        2           Much in this case was confusing or disputed, but the evidence was clear that

        3    Johnson, immediately after the transaction, misled Cairn about why the 3:00 PM

        4    ﬁx price rose so much. From this, the jury was invited to infer that Johnson

        5    intentionally ramped the 3:00 PM ﬁx price, and we think that inference is strong.

        6    It is also indisputable that Johnson led Cairn to believe that HSBC, unlike other

        7    foreign exchange dealers the company was considering in the RFP process, would

        8    not intentionally ramp the ﬁx price. These facts created a textbook case of right-to-

        9    control fraud, and the jury was invited to convict Johnson on that basis.

       10           On the other hand, to convict on the misappropriation theory the

       11    government needed to prove (1) that Johnson owed a ﬁduciary duty to Cairn,

       12    despite the basic principal-to-principal structure of the deal and the contractual

       13    disclaimers of such a duty, because Johnson had made statements inducing Cairn

       14    to believe Johnson had assumed that duty, (2) that because of this ﬁduciary duty,

       15    Cairn shared conﬁdential information with Johnson, (3) that Johnson misused this

       16    conﬁdential information, intentionally buying more pounds than he could

       17    reasonably need to fulﬁll the deal or hedge against risk for HSBC and then

       18    intentionally ramped the price of pounds to Cairn’s detriment, and (4) that

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        1    Johnson intended to defraud Cairn when doing all of the above.

        2           Despite our doubts expressed earlier, it is not impossible that a reasonable

        3    jury could ﬁnd that the government proved all four of these elements beyond a

        4    reasonable doubt. But that is not the test. And we ﬁnd it highly unlikely that a

        5    reasonable jury would have reached unanimous agreement on the more

        6    complicated and contestable misappropriation theory when it had the right-to-

        7    control theory as an available alternative. Indeed, we ﬁnd ourselves—at the very

        8    least—in “virtual equipoise” as to whether any jury, presented only with the

        9    misappropriation theory, would convict Johnson. O'Neal, 513 U.S. at 435. That is

       10    more than enough to leave us with grave doubt.

       11                                       CONCLUSION

       12           We therefore REVERSE the judgment of the district court and REMAND

       13    for entry of an order granting the Petition.




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